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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CHICAGO

DEBORAH LAUFER, Individually,            :
                                         :
            Plaintiff,                   :
                                         :
v.                                       :               Case No.
                                         :
233 E ONTARIO HOTEL PROPCO LLC d/b/a :
IVY HOTEL, a Foreign Limited Liability   :
Company,                                 :
                                         :
            Defendant.                   :
_______________________________________/ :
                                         :

                                          COMPLAINT
                                   (Injunctive Relief Demanded)

       Plaintiff, DEBORAH LAUFER, Individually, on her behalf and on behalf of all other

individuals similarly situated, (sometimes referred to as “Plaintiff”), hereby sues the Defendant, 233

E ONTARIO HOTEL PROPCO LLC d/b/a IVY HOTEL, a Foreign Limited Liability Company,

(sometimes referred to as “Defendant”), for Injunctive Relief, and attorney’s fees, litigation

expenses, and costs pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq.

(“ADA”).

1.             Plaintiff is a resident of Pasco County, Florida, is sui juris, and qualifies as an

               individual with disabilities as defined by the ADA. Plaintiff is unable to engage in

               the major life activity of walking more than a few steps without assistive devices.

               Instead, Plaintiff is bound to ambulate in a wheelchair or with a cane or other support

               and has limited use of her hands. She is unable to tightly grasp, pinch and twist of the

               wrist to operate. Plaintiff is also vision impaired. When ambulating beyond the

               comfort of her own home, Plaintiff must primarily rely on a wheelchair. Plaintiff
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            requires accessible handicap parking spaces located closet to the entrances of a

            facility. The handicap and access aisles must be of sufficient width so that she can

            embark and disembark from a ramp into her vehicle. Routes connecting the handicap

            spaces and all features, goods and services of a facility must be level, properly

            sloped, sufficiently wide and without cracks, holes or other hazards that can pose a

            danger of tipping, catching wheels or falling. These areas must be free of obstructions

            or unsecured carpeting that make passage either more difficult or impossible.

            Amenities must be sufficiently lowered so that Plaintiff can reach them. She has

            difficulty operating door knobs, sink faucets, or other operating mechanisms that

            tight grasping, twisting of the wrist or pinching. She is hesitant to use sinks that have

            unwrapped pipes, as such pose a danger of scraping or burning her legs. Sinks must

            be at the proper height so that she can put her legs underneath to wash her hands. She

            requires grab bars both behind and beside a commode so that she can safely transfer

            and she has difficulty reaching the flush control if it is on the wrong side. She has

            difficulty getting through doorways if they lack the proper clearance.

2.          Plaintiff is an advocate of the rights of similarly situated disabled persons and is a

            "tester" for the purpose of asserting her civil rights and monitoring, ensuring, and

            determining whether places of public accommodation and their websites are in

            compliance with the ADA.

3.          According to the county property records, Defendant owns a place of public

            accommodation as defined by the ADA and the regulations implementing the ADA,

            28 CFR 36.201(a) and 36.104. The place of public accommodation that the


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            Defendant owns is a place of lodging known as IVY HOTEL, 233 E Ontario St,

            Chicago, IL 60611, and is located in the County of COOK (hereinafter "Property").

4.          Venue is properly located in the NORTHERN DISTRICT OF CHICAGO because

            the injury occurred in this district.

5.          Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given

            original jurisdiction over actions which arise from the Defendant’s violations of Title

            III of the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28

            U.S.C. § 2201 and § 2202.

6.          As the owner of the subject place of lodging, Defendant is required to comply with

            the ADA. As such, Defendant is required to ensure that it's place of lodging is in

            compliance with the standards applicable to places of public accommodation, as set

            forth in the regulations promulgated by the Department Of Justice. Said regulations

            are set forth in the Code Of Federal Regulations, the Americans With Disabilities Act

            Architectural Guidelines ("ADAAGs"), and the 2010 ADA Standards, incorporated

            by reference into the ADA. These regulations impose requirements pertaining to

            places of public accommodation, including places of lodging, to ensure that they are

            accessible to disabled individuals.

7.          More specifically, 28 C.F.R. Section 36.302(e)(1) imposes the following

            requirement:

            Reservations made by places of lodging. A public accommodation that owns,
            leases (or leases to), or operates a place of lodging shall, with respect to
            reservations made by any means, including by telephone, in-person, or through a
            third party -



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                     (i) Modify its policies, practices, or procedures to ensure that individuals
                     with disabilities can make reservations for accessible guest rooms during
                     the same hours and in the same manner as individuals who do not need
                     accessible rooms;
                     (ii) Identify and describe accessible features in the hotels and guest rooms
                     offered through its reservations service in enough detail to reasonably
                     permit individuals with disabilities to assess independently whether a
                     given hotel or guest room meets his or her accessibility needs;
                     (iii) Ensure that accessible guest rooms are held for use by individuals
                     with disabilities until all other guest rooms of that type have been rented
                     and the accessible room requested is the only remaining room of that type;
                     (iv) Reserve, upon request, accessible guest rooms or specific types of
                     guest rooms and ensure that the guest rooms requested are blocked and
                     removed from all reservations systems; and
                     (v) Guarantee that the specific accessible guest room reserved through its
                     reservations service is held for the reserving customer, regardless of
                     whether a specific room is held in response to reservations made by others.

8.           These regulations became effective March 15, 2012.

9.           Defendant, either itself or by and through a third party, implemented, operates,

             controls and or maintains websites for the Property which contains an online

             reservations system. These websites are located at hotels.com, booking.com,

             orbitz.com, priceline.com, agoda.com, trip.com and expedia.com. This term also

             includes all other websites owned and operated by Defendant or by third parties to

             book or reserve guest accommodations at the hotel. The purpose of these websites

             is so that members of the public may reserve guest accommodations and review

             information pertaining to the goods, services, features, facilities, benefits, advantages,

             and accommodations of the Property. As such, these websites are subject to the

             requirements of 28 C.F.R. Section 36.302(e).

10.          Prior to the commencement of this lawsuit, Plaintiff visited the websites on multiple

             occasions for the purpose of reviewing and assessing the accessible features at the


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       Property and ascertain whether they meet the requirements of 28 C.F.R. Section

       36.302(e) and her accessibility needs. However, Plaintiff was unable to do so because

       Defendant failed to comply with the requirements set forth in 28 C.F.R. Section

       36.302(e). As a result, Plaintiff was deprived the same goods, services, features,

       facilities, benefits, advantages, and accommodations of the Property available to the

       general public. Specifically, expedia.com did not comply with the Regulation

       because it did not identify accessible rooms, did not allow for booking of accessible

       rooms and provided insufficient information as to whether the rooms or features at

       the hotel are accessible; hotel amenities, room types and amenities are all listed in

       detail; no information was given about accessibility in the hotel other than the

       statements "Accessible bathroom", "Wheelchair-accessible parking", and "In-room

       accessibility". Hotels.com did not comply with the Regulation because it did not

       identify accessible rooms, did not allow for booking of accessible rooms and

       provided insufficient information as to whether the rooms or features at the hotel are

       accessible; hotel amenities, room types and amenities are all listed in detail; no

       information was given about accessibility in the hotel other than the statements

       "Accessible    bathroom",    "Wheelchair-accessible      parking",   and    "In-room

       accessibility". Booking.com did not comply with the Regulation because it did not

       identify accessible rooms, did not allow for booking of accessible rooms and

       provided insufficient information as to whether the rooms or features at the hotel are

       accessible; hotel amenities, room types and amenities are all listed in detail; no

       information was given about accessibility in the hotel other than the statement


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       "Facilities for disabled guests". Orbitz.com did not comply with the Regulation

       because it did not identify accessible rooms, did not allow for booking of accessible

       rooms and provided insufficient information as to whether the rooms or features at

       the hotel are accessible; hotel amenities, room types and amenities are all listed in

       detail; no information was given about accessibility in the hotel other than the

       statements "Accessible bathroom", "Wheelchair-accessible parking", and "In-room

       accessibility". Priceline.com did not comply with the Regulation because it did not

       identify accessible rooms, did not allow for booking of accessible rooms and

       provided insufficient information as to whether the rooms or features at the hotel are

       accessible; hotel amenities, room types and amenities are all listed in detail; no

       information was given about accessibility in the hotel other than the statements

       "Accessible rooms/facilities" and "Handicapped rooms/facilities". Agoda.com did

       not comply with the Regulation because it did not identify accessible rooms, did not

       allow for booking of accessible rooms and provided insufficient information as to

       whether the rooms or features at the hotel are accessible; hotel amenities, room types

       and amenities are all listed in detail; no information was given about accessibility in

       the hotel other than the statement "Facilities for disabled guests". Trip.com did not

       comply with the Regulation because it did not identify accessible rooms, did not

       allow for booking of accessible rooms and provided insufficient information as to

       whether the rooms or features at the hotel are accessible; hotel amenities, room types

       and amenities are all listed in detail; no information was given about accessibility in

       the hotel other than the statement "Accessible rooms".


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11.          In the near future, Plaintiff intends to revisit Defendant's online reservations system

             in order to test it for compliance with 28 C.F.R. Section 36.302(e). In this respect,

             Plaintiff maintains a system to ensure that she revisits the online reservations system

             of every hotel she sues. By this system, Plaintiff maintains a list of all hotels she has

             sued with several columns following each. She continually updates this list by,

             among other things, entering the dates she did visit and plans to again visit the hotel's

             online reservations system. With respect to each hotel, she visits the online

             reservations system multiple times prior to the complaint being filed, then visits

             again shortly after the complaint is filed. Once a judgment is obtained or settlement

             agreement reached, she records the date by which the hotel's online reservations

             system must be compliant and revisits when that date arrives.

12.          Plaintiff is continuously aware that the subject websites remain non-compliant and

             that it would be a futile gesture to revisit the websites as long as those violations exist

             unless she is willing to suffer additional discrimination.

13.          The violations present at Defendant's websites infringe Plaintiff's right to travel free

             of discrimination and deprive her of the information required to make meaningful

             choices for travel. Plaintiff has suffered, and continues to suffer, frustration and

             humiliation as the result of the discriminatory conditions present at Defendant's

             website. By continuing to operate the websites with discriminatory conditions,

             Defendant contributes to Plaintiff's sense of isolation and segregation and deprives

             Plaintiff the full and equal enjoyment of the goods, services, facilities, privileges

             and/or accommodations available to the general public. By encountering the


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             discriminatory conditions at Defendant's website, and knowing that it would be a

             futile gesture to return to the websitesunless she is willing to endure additional

             discrimination, Plaintiff is deprived of the same advantages, privileges, goods,

             services and benefits readily available to the general public. By maintaining a

             websiteswith violations, Defendant deprives Plaintiff the equality of opportunity

             offered to the general public. Defendant's online reservations system serves as a

             gateway to its hotel. Because this online reservations system discriminates against

             Plaintiff, it is thereby more difficult to book a room at the hotel or make an informed

             decision as to whether the facilities at the hotel are accessible.

14.          Plaintiff has suffered and will continue to suffer direct and indirect injury as a result

             of the Defendant’s discrimination until the Defendant is compelled to modify its

             websitesto comply with the requirements of the ADA and to continually monitor and

             ensure that the subject websitesremains in compliance.

15.          Plaintiff has a realistic, credible, existing and continuing threat of discrimination

             from the Defendant’s non-compliance with the ADA with respect to these websites.

             Plaintiff has reasonable grounds to believe that she will continue to be subjected to

             discrimination in violation of the ADA by the Defendant.

16.          The Defendant has discriminated against the Plaintiff by denying her access to, and

             full and equal enjoyment of, the goods, services, facilities, privileges, advantages

             and/or accommodations of the subject website.




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17.          The Plaintiff and all others similarly situated will continue to suffer such

             discrimination, injury and damage without the immediate relief provided by the ADA

             as requested herein.

18.          Defendant has discriminated against the Plaintiff by denying her access to full and

             equal enjoyment of the goods, services, facilities, privileges, advantages and/or

             accommodations of its place of public accommodation or commercial facility in

             violation of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302(e). Furthermore, the

             Defendant continues to discriminate against the Plaintiff, and all those similarly

             situated by failing to make reasonable modifications in policies, practices or

             procedures, when such modifications are necessary to afford all offered goods,

             services, facilities, privileges, advantages or accommodations to individuals with

             disabilities; and by failing to take such efforts that may be necessary to ensure that

             no individual with a disability is excluded, denied services, segregated or otherwise

             treated differently than other individuals because of the absence of auxiliary aids and

             services.

19.          Plaintiff is without adequate remedy at law and is suffering irreparable harm.

             Plaintiff has retained the undersigned counsel and is entitled to recover attorney’s

             fees, costs and litigation expenses from the Defendant pursuant to 42 U.S.C. § 12205

             and 28 CFR 36.505.

20.          Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiff

             Injunctive Relief, including an order to require the Defendant to alter the subject

             websites to make them readily accessible and useable to the Plaintiff and all other


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             persons with disabilities as defined by the ADAand 28 C.F.R. Section 36.302(e); or

             by closing the websites until such time as the Defendant cures its violations of the

             ADA.

WHEREFORE, Plaintiff respectfully requests:

      a.     The Court issue a Declaratory Judgment that determines that the Defendant at the

             commencement of the subject lawsuit is in violation of Title III of the Americans

             with Disabilities Act, 42 U.S.C. § 12181 et seq. and 28 C.F.R. Section 36.302(e).

      b.     Injunctive relief against the Defendant including an order to revise its websites to

             comply with 28 C.F.R. Section 36.302(e) and to implement a policy to monitor and

             maintain the websites to ensure that it remains in compliance with said requirement.

      c.     An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C.

             § 12205.

      d.     Such other relief as the Court deems just and proper, and/or is allowable under

             Title III of the Americans with Disabilities Act.

             Respectfully Submitted,


                                           By: /s/ Kimberly A. Corkill, Esq.

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